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 6

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                             CASE NO. 2:18-CR-010-TLN
11                                 Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                          v.                             FINDINGS AND ORDER
13   JOSHUA SIMS et al.,                                   DATE: February 21, 2019
                                                           COURT: Hon. Troy L. Nunley
14                                Defendants.
15

16                                              STIPULATION

17          1.      This stipulation concerns one of thirteen indicted related cases, which all arise out of a

18 common investigation.

19          2.      By previous order, this matter was set for status on February 21, 2019.

20          3.      By this stipulation, the Government and counsel for the defendants in the above-

21 captioned case now move to continue the status conference to April 11, 2019.

22          4.      The parties also seek to exclude time between February 21, 2019, and April 11, 2019

23 under Local Codes T2 and T4.

24          5.      The parties agree and stipulate, and request that the Court find the following:

25          a)      As of this stipulation, the Government has produced more than 400 pages of written

26 discovery to the defendants as a group, as well as 45 DVDs containing audio and visual surveillance

27 recordings. (Each defendant has also received a copy of his or her criminal history, if one exists, and a

28 small amount of additional written discovery has been produced to a subset of defendants.).

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 1          b)      In addition, on or around February 8, 2019, the previously court-appointed discovery-

 2 coordination attorney (the “DCA”) made wiretap discovery available to defense counsel.

 3          c)      At this time, counsel for the above-captioned defendants desire additional time to review

 4 the discovery recently distributed by the DCA. This review will enable counsel to continue reviewing

 5 the charges against their respective clients, conduct ancillary research, and consult with their respective

 6 clients on how to proceed in their cases.

 7          d)      Counsel for the defendants believe that failure to grant the above-requested continuances

 8 would deny them the reasonable time necessary for effective preparation, taking into account the

 9 exercise of due diligence.

10          e)      The government does not object to the continuances.

11          f)      Based on the above-stated findings, the ends of justice served by continuing the case as

12 requested outweigh the interest of the public and the defendant in a trial within the original date

13 prescribed by the Speedy Trial Act.

14          g)      Further, given that the discovery in this case arises from a single investigation and is

15 being produced to twenty-seven defendants in thirteen cases, the Court has previously designated the

16 matter as “complex” for the purpose of providing an exclusion of time under Local Code T2. The

17 parties submit that the foregoing stipulation provides a continued basis for such an exclusion.

18          h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

19 within which trials must commence, the time periods of February 21, 2019 to April 11, 2019, inclusive,

20 are deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because they result

21 from continuances granted by the Court at the defendants’ requests on the basis of the Court’s finding

22 that the ends of justice served by taking such action outweigh the best interest of the public and the

23 defendants in speedy trials.

24          i)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

25 within which trials must commence, the time periods of February 21, 2019 to April 11, 2019, inclusive,

26 are deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (ii) because they result from

27 continuances granted by the Court at defendants’ requests on the basis of the Court’s finding that the

28 matters are sufficiently complex that it would be unreasonable to expect adequate preparation absent the

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 1 exclusions of time.

 2          6.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the periods within which trials

 4 must commence.

 5          IT IS SO STIPULATED.

 6   Dated: February 13, 2019                                 MCGREGOR W. SCOTT
                                                              United States Attorney
 7
                                                              /s/ JUSTIN LEE
 8                                                            JUSTIN LEE
                                                              Assistant United States Attorney
 9

10
     Dated: February 13, 2019                                 /s/ TODD D. LERAS
11                                                            TODD D. LERAS
                                                              Counsel for Defendant Edgar Jimenez
12

13
     Dated: February 13, 2019                                 /s/ DANIEL L. OLSEN
14                                                            DANIEL L. OLSEN
                                                              Counsel for Defendant James Masterson
15

16
     Dated: February 13, 2019                                 /s/ CANDICE L. FIELDS
17                                                            CANDICE L. FIELDS
                                                              Counsel for Defendant Reggie Pajimola
18

19
     Dated: February 13, 2019                                 /s/ KYLE R. KNAPP
20                                                            KYLE R. KNAPP
                                                              Counsel for Defendant Joshua Sims
21

22
                                            FINDINGS AND ORDER
23
            IT IS SO FOUND AND ORDERED this 19 day of February 2019.
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27
                                                       THE HONORABLE TROY L. NUNLEY
28                                                     UNITED STATES DISTRICT JUDGE

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